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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                            Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                         2d Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Stephanie D. Edmunds                                  JOINT DEBTOR:                                     CASE NO.:       16-20175
 Last Four Digits of SS#                   xxx-xx-9735                     Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $           1,212.32 for months             1     to        9       ;
           B.       $           1,757.46 for months            10     to       10       ;
           C.       $             383.71 for months            11     to       60       ; in order to pay the following creditors:

Administrative: Attorney’s Fee $ 1,500.00     (Base Legal Fees)
                MMM             $ 365.00
                Motion to Modify$ 525.00
                Total Fees:     $ 2,390.00
                TOTAL PAID $ 1,500.00
                Balance Due:    $ 890.00 payable $ 1.76 /month (Months 1 to 9 ); then $ 874.13 /month (Months 10 to 10 )

Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
    Fairmont at Regency Lakes
 1. Homeowners Asso. Inc.                                            Arrearage on Petition Date $ 0.00
                 Donald Walters
                 P.A.
                 7401 Wiles Road,
                 Ste. 202
                 Coral Springs, FL
    Address:     33067                                                  Arrears Payment $                0.00 /month (Months 0 to 0 )
                                                                                                         90.40       (Months 1 to 9 )
      Account No: Account No: I20                                       Regular Payment $              134.64 /month (Months 10 to 60 )
 2. Ocwen Loan Sevicing Llc                                          Arrearage on Petition Date    $ MMM
               Attn: Research
               Dept;
               1661 Worthington
               Rd Ste 100
               West Palm Beach,
    Address:   FL 33409                                                 Arrears Payment $                  0.00 /month (Months 0 to 0 )
                                                                                                         938.69        (Months 1 to 9 )
      Account No: xxx3365                                                MMM Payment $                   374.74 /month (Months 10 to 10 )
    Regency Lakes Community
 3. Association Inc.                                                 Arrearage on Petition Date $ 0.00
                 c/o Campbell
                 Property
                 Management;
                 1215 E Hillsboro
                 Blvd.
                 Deerfield Beach, FL
    Address:     33441                                                  Arrears Payment $                  0.00 /month (Months 0 to 0 )
                                                                                                         118.65        (Months 1 to 9 )
      Account No: I20                                                   Regular Payment $                184.26 /month (Months 10 to 60 )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate       Plan Payments Months of Payment    Total Plan Payments



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                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate       Plan Payments Months of Payment    Total Plan Payments
 Regency Lakes Community
 Asso.                                                    4934 Egret Court,
 c/o Campbell Property
 Management
                                                         Coconut Creek, FL
 1215 E Hillsboro Blvd
 Deerfield Beach, FL 33441                       $                       285,000.00         0%          $          0.00       1 To 60                            0.00

 Fairmont at Regency Lakes                                4934 Egret Court,
 Homeowners Asso. Inc.
 c/o Donald Walters P.A.
                                                         Coconut Creek, FL
 7401 Wiles Road, Ste. 202
 Coral Springs, FL 33067                         $                       285,000.00         0%          $          0.00       1 To 60                            0.00


Priority Creditors: [as defined in 11 U.S.C. §507]
       Internal Revenue Service
       P.O. Box 7346
       Philadelphia, PA 19101                   Total Due            $          1,115.46

                                                                     11.02             (Months 1 to 9 )
                                      Payable       $                19.92 /month (Months 10 to 60 )                         Regular Payment $                       n/a
Unsecured Creditors: Pay $ 10.00 /month (Months 10 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-



Ocwen Loan Servicing (Acct. No.3365): The debtor filed a Verified Motion for Referral to MMM with Ocwen Loan
Servicing (“Lender”), loan number 3365, for real property located at 4934 Egret Court, Coconut Creek, FL. The parties
attended a mediation conference but were not able to reach an agreement.

Debtor shall treat this claim directly and outside of the Chapter 13 plan. The treatment of the claim is not to be construed
as a waiver by Debtor of any legal defenses which she may be entitled to raise in a legal action commenced by creditor
against Debtor, including but not limited to, a foreclosure case.




I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Clare Casas, Esq.

 o/b/o Stephanie D. Edmunds
 Stephanie D. Edmunds
 Debtor
 Date: April 7, 2017




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